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lN THE UNlTED STATES DlSTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

PENTECH INFUSIONS, INC.,

 

P]aintiff,
vs. No. 05-2536-D/V

MEMPHIS MANAGED CARE CORP.
dfb/a TLC FAMILY CARE HEALTHPLAN,

Defendant.

 

ORDER GRANTlNG EXTENSION OF TIME TO RESPOND TO COMPLAINT

 

The defendant Memphis Managed Care Corp. d/b/a TLC F arnin Care Healthplan having
moved for an extension of thirty (30) days to respond to the Complaint and there being no
objection thereto by the plaintiff and for good cause shown

IT lS ORDERED that the defendant Mernphis Managed Care Corp dfb/a TLC Farnily

Care Healthplan shall have to and including September 16, 2005 to respond to the Complaint.

Thisjjdayof g`g¢¢;@ ,2005.

UNITED STATES B‘I'S:PR~I€-¥~GQURT JUDGE
/V(/M`-/S 7')€/? 7‘£:"

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02536 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

Henry T.V. l\/liller
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Honorable Bernice Donald
US DISTRICT COURT

